   Case 22-19361-MBK             Doc 2212        Filed 04/02/24 Entered 04/02/24 14:17:26            Desc Main
                                               Document      Page 1 of 3



       UNITED STATES BANKRUPTCY COURT
       DISTRICT OF NEW JERSEY
       Caption in Compliance with D.N.J. LBR 9004-1(b)
                                                                                        Order Filed on April 2, 2024
       In re:                                                                           by Clerk
                                                                                        U.S. Bankruptcy Court
                                                                                        District of New Jersey
       BLOCKFI INC., et al.,                                     Case No. 22-19361 (MBK)
                                  Debtors. 1                     Jointly Administered under a Confirmed Plan2)
                                                                 Hearing Date: April 25, 2024 @ 11:30 a.m.
                                                                 ET
                                                                 Chapter 11

         BRIDGE ORDER EXTENDING THE WIND-DOWN DEBTORS’ TIME TO FILE
                       AND SERVE OBJECTIONS TO CLAIMS




                The relief set forth on the following pages, numbered one (1) through two (2), is hereby

      ORDERED.




DATED: April 2, 2024
Case 22-19361-MBK              Doc 2212       Filed 04/02/24 Entered 04/02/24 14:17:26                 Desc Main
                                            Document      Page 2 of 3
 (Page 1)
 Debtors:                     BLOCKFI INC., et al.
 Case No.                     22-19361 (MBK)
 Caption of Order:            BRIDGE ORDER EXTENDING THE WIND-DOWN DEBTORS’ TIME
                              TO FILE AND SERVE OBJECTIONS TO CLAIMS



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     Local Counsel for the Plan Administrator
            THIS MATTER having been brought before the Court on behalf of the Wind-Down

 Debtors, upon a Motion for Entry of an Order Extending the Period to File and Service Objections

 to Claim (the “Motion”); 1 and the current time within which the Wind-Down Debtors may file and

 serve objections to claims expires on April 21, 2024; and good cause appearing for the entry of

 this order (the “Bridge Order”);

                 It is ORDERED as follows:




 1
         All capitalized terms used but not otherwise defined herein shall have the same meanings ascribed to them
 in the Motion.
Case 22-19361-MBK        Doc 2212      Filed 04/02/24 Entered 04/02/24 14:17:26            Desc Main
                                     Document      Page 3 of 3
 (Page 2)
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                        TO FILE AND SERVE OBJECTIONS TO CLAIMS

        1.      The Motion is hereby GRANTED on a temporary basis pending final approval of

 the Motion by this Court.

        2.      The deadline to file and serve objections to claims is hereby extended through and

 including the date by which the Court enters a final order with respect to the Motion.

        3.      This Bridge Order is effective immediately upon entry.

        4.      The Wind-Down Debtors’ counsel shall serve a true copy of this Bridge Order on

 all interested parties within seven (7) days of the date hereof.

        5.      All parties in interest reserve any and all of their rights with respect to the final

 determination on the Motion.

        6.      This Bridge Order is without prejudice to the Wind-Down Debtors’ right to seek

 further extensions of time within which file and serve objections to claims.

        7.      The Debtors are authorized to take all actions necessary to effectuate the relief

 granted pursuant to this Bridge Order.

        8.      This Court shall retain jurisdiction with respect to all matters arising from or

 relating to the implementation of this Bridge Order.
